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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   Civil Case No. 1:23-cv-23933-FAM

                                                        :
   Sucesión Simon Diaz Marquez,                         :
                                                        :
               Plaintiff,                               :
                             v.                         :
                                                        :
   Miami Fine Foods, LLC and Avi Assor,                 :
                                                        :
               Defendants.                              :
                                                        :

                                  NOTICE SCHEDULING MEDIATION

             Pursuant to this Court’s Order dated December 15, 2023 (Doc. No. 16), Plaintiff Sucesión

  Simon Diaz Marquez, by and through undersigned counsel, hereby notifies the Court that the

  parties have agreed to mediation with mediator Michael Chesal and tentatively have agreed to

  mediate on June 6, 2024, at a time to be determined subject to availability of Mr. Chesal and the

  parties.

  Dated: January 12, 2024

   /s/Ben Natter/            .
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   Attorneys for Plaintiff
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the date set forth below, I caused a true and correct copy of the

  foregoing Notice Scheduling Mediation to be electronically filed with the Clerk of Court and

  served upon all counsel of record via the Court’s CM/ECF electronic filing system.


  Dated: January 12, 2024


                                                       Respectfully submitted,

                                                       HAUG PARTNERS LLP


                                                By:    /s/Ben Natter/

                                                       Ben Natter
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                                                       Attorneys for Plaintiff
